                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                       )   Criminal No.    1:20-MJ-311 (CFH)
                                                )
               v.                               )   STIPULATION AND ORDER
                                                )   FOR CONTINUANCE
 JHAJUAN SABB,                                  )
                                                )
                                                )
               Defendant.                       )

       The United States of America, by and through its counsel of record, the United States

Attorney for the Northern District of New York, and the defendant, Jhajuan Sabb, by and through

counsel, Michael McGeown-Walker, hereby agree and stipulate that the time within which an

indictment must be filed under Title 18, United States Code, Section 3161(b), be enlarged to and

include sixty (60) days from the date of the order to and that such time be excluded, pursuant to

Title 18, United States Code, Section 3161(h)(7)(A), from the computation of the time within

which an indictment must be filed under the provisions of Title 18, United States Code, Section

3161(b).

1)     The chronology of this case is as follows:

       a)     Date of complaint: June 6, 2020

       b)     Date of initial appearance: June 8, 2020

       c)     Defendant custody status: In custody since June 6, 2020

       d)     Earlier enlargements of time and exclusions under the Speedy Trial Act: the period

of time from June 29, 2020 through and including August 29, 2020.

2)     The parties have requested the continuance based on the COVID-19 pandemic and the

following facts and circumstances.
3)     The parties stipulate and agree that the ends of justice served by granting this continuance

outweigh the best interests of the public and the defendant in a speedy indictment and trial because

the continuance is necessary for the following reasons:

                                       COVID-19 Pandemic

4)     On March 13, 2020, the Court issued General Order No. 58, In Re: Coronavirus Public

Emergency, revised on April 29, May 13, June 12, and August 6, allowing for the continuation of

criminal (grand and petit) jury selections and jury trials scheduled to commence through October

12, 2020, because of (a) the New York Governor’s declaration of a public-health emergency in

response to the spread of COVID-19, and (b) the Centers for Disease Control’s advice regarding

reducing the possibility of exposure to the virus and slowing the spread of the disease. Pandemic,

like natural disaster or other emergency, grants this Court the discretion to order an ends-of-justice

continuance. See United States v. Correa, 182 F.Supp.2d 326, 329 (S.D.N.Y. 2001) (applying this

requirement after the September 11, 2001 attacks and noting that “there is authority for granting

[discretionary interests-of-justice exclusions] in the case of public emergency caused by a natural

catastrophe”). Moreover, due to the restrictions imposed by current public-health concerns, denial

of a continuance is likely to deny government counsel reasonable time necessary for effective

preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(7)(B)(iv).

Furthermore, grand jury preparation necessarily involves close contact with witnesses, and close

contact between assembled grand jurors, which is inconsistent with advice from the Centers for

Disease Control and may be hazardous to the health of grand jurors, government counsel, agents

and other lay witnesses.

5)     For all of these reasons, an exclusion under 18 U.S.C. § 3161(h)(7)(A) and (h)(7)(B)(iv) is

appropriate.
                       Reasons Unrelated to the COVID-19 Pandemic

6)     The requested continuance allows for reasonable time necessary for the effective

preparation by defense counsel to review the evidence with the United States and the defendant,

so that the defendant may make an informed decision as to whether he wishes to resolve or dispute

the charges set forth in the Complaint. The Government made a pre-indictment discovery on June

25, 2020.

7)     The parties stipulate and agree that a period of 60 days beginning on and including the date

on which the Court signs the requested order, shall be excludable under the Speedy Trial Act

pursuant to 18 U.S.C. § 3161(h)(7)(A) and (h)(7)(B)(iv).

       The undersigned attorneys affirm under penalty of perjury the accuracy of the facts set

forth above and apply for and consent to the proposed order set forth below.



Dated: August 24, 2020                           GRANT C. JAQUITH
                                                 United States Attorney

                                                 /s/ Michael Barnett
                                         By:      Michael Barnett
                                                 Assistant United States Attorney
                                                 Bar Roll No. 519140

                                                                            Digitally signed by Michael McGeown-
                                                  Michael McGeown-Walker Walker
                                                                            Date: 2020.08.24 10:20:09 -04'00'



                                                 Michael McGeown-Walker, Esq.
                                                 Attorney for Jhajuan Sabb
                                                 Bar Roll No. 520776
                        IN THE UNITED STATES DISTRICT COURT
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 UNITED STATES OF AMERICA                       )   Criminal No.      1:20-MJ-311 (CFH)
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                                                )
 JHAJUAN SABB,                                  )
                                                )
                                                )
               Defendant.                       )

                                             ORDER

A.     The Court incorporates into this Order the stipulated facts set forth above and hereby adopts

them as findings.

B.     The Court has considered its obligation under 18 U.S.C. § 3161(h)(7)(A) to determine

whether a continuance serves the ends of justice in a manner that outweighs both the public interest

and the defendant’s rights. The Court finds that pursuant to 18 U.S.C. §§ 3161(b) and (h)(7)(A),

the ends of justice served by granting the requested continuance outweigh the best interests of the

public and the defendants in a speedy indictment and trial because:

       1.      This delay is necessary for the reasons articulated in General Order No. 58, In Re:

Coronavirus Public Emergency; denial would be likely to deny the United States reasonable time

necessary for effective preparation for the return and filing of an indictment, taking into account

the exercise of due diligence, 18 U.S.C. 3161(h)(7)(B)(iv); grand jury and trial preparation

involves close contact with witnesses, which is inconsistent with advice from the Centers for

Disease Control and may be hazardous to the health of either or both of counsel and the witnesses.

       2.      the requested continuance allows for the reasonable time necessary for the effective

preparation by defense counsel to review the evidence with the United States and the defendant,
so that the defendant may make an informed decision as to whether he wishes to resolve or dispute

the charges set forth in the Complaint. 18 U.S.C. § 3161(h)(7)(B)(iv).

       BASED ON THE STIPULATED FACTS AND THE COURT’S RELATED FINDINGS

IT IS HEREBY ORDERED:

C.     That the time within which an indictment must be filed under the provisions of Title 18,

United States Code, Section 3161(b), be enlarged to and include sixty (60) days from the date of

this Order, and that time be excluded pursuant to Title 18, United States Code, Section

3161(h)(7)(A), from the computation of the time within which an indictment must be filed under

the provisions of Title 18, United States Code, Section 3161(b), because of the reasons articulated

in General Order No. 58, In Re: Coronavirus Public Emergency; denial would be likely to deny all

counsel reasonable time necessary for effective preparation, taking into account the exercise of

due diligence, 18 U.S.C. § 3161(B)(iv); the presentation of this matter to the grand jury involves

close contact with witnesses, which is inconsistent with advice from the Centers for Disease

Control and may be hazardous to the health of grand jurors, prosecutors, agents, and other lay

witnesses.


IT IS SO ORDERED.

Dated and entered this   25th    day of August, 2020.

                                                          Hon. Christian F. Hummel
                                                          United States Magistrate Judge
